
685 S.E.2d 105 (2009)
Kenneth E. ROSS
v.
Linda O. ROSS (OSBORNE).
No. 508P08.
Supreme Court of North Carolina.
October 8, 2009.
Judith K. Guibert, Hillsborough, for Linda Ross.
Constance M. Ludwig, for Kenneth Ross.

ORDER
Upon consideration of the conditional petition filed on the 24th of November 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
*106 "Dismissed as Moot by order of the Court in conference, this the 8th of October 2009."
